Case 2:16-cv-12581-AJT-EAS
             Case: 18-1278 Document:
                           ECF No. 7014-1
                                       filed 04/17/18
                                             Filed: 04/17/2018
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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                    Tel. (513) 564-7000
      Clerk                        CINCINNATI, OHIO 45202-3988                  www.ca6.uscourts.gov




                                        Filed: April 17, 2018




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City Of Detroit Law Department
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Excolo Law
26700 Lahser Road
Suite 401
Southfield, MI 48033

                Re: Case No. 18-1278, Alonzo Bullman, et al v. City of Detroit, MI, et al
                    Originating Case No. : 2:16-cv-12581

Dear Counsel:

   The Court issued the enclosed Order today in this case.

                                        Sincerely yours,

                                        s/Jeanine R. Hance
                                        Case Manager
                                        Direct Dial No. 513-564-7037

cc: Mr. David J. Weaver

Enclosure
Case 2:16-cv-12581-AJT-EAS
             Case: 18-1278 Document:
                           ECF No. 7014-2
                                       filed 04/17/18
                                             Filed: 04/17/2018
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                                         Case No. 18-1278

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER

ALONZO BULLMAN; JOEL CASTRO; NICOLE MOTYKA

              Plaintiffs - Appellees

v.

CITY OF DETROIT, MI; MATTHEW BRAY; JOHN DOE; IAN SERVEY; CHERYL
MUHAMMAD; SAMUEL GALLOWAY; NICO HURD; JOHNNY FOX; ALANNA
MITCHELL

              Defendants - Appellants



     Upon consideration of the appellant’s motion to dismiss the City of Detroit, John Doe, Ian

Servey, Cheryl Muhammad, Samuel Galloway, Johnny Fox and Alanna Mitchell,

     It is ORDERED that the motion be, and it hereby is GRANTED.



                                        ENTERED PURSUANT TO RULE 45(a),
                                        RULES OF THE SIXTH CIRCUIT
                                        Deborah S. Hunt, Clerk


Issued: April 17, 2018
                                        ___________________________________
